              Case 1:05-cv-00043 Document 84 Filed 10/24/08 Page 1 of 2


MICHAEL W. DOTTS, ESQ.
O'Connor Berman Dotts & Banes
Second Floor, Marianas Business Plaza
P.O. Box 501969
Saipan, MP 96950
Telephone No. (670) 234-5684
Facsimile No. (670) 234-5683

Attorneys for Plaintiff Antonio S. Camacho

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN MARIANA ISLANDS

ANTONIO S. CAMACHO                              ) Civil Action No. 05-0043
                                                )
               Plaintiff,                       )
                                                )
                 vs.                            )
                                                )   REQUEST FOR WRIT
COMMONWEALTH OF THE                             )   OF EXECUTION
NORTHERN MARIANA ISLANDS,                       )
DEPARTMENT OF PUBLIC LANDS,                     )
successor to the Marianas Public Lands          )
Authority, and DEPARTMENT OF                    )
PUBLIC WORKS,                                   )
                                                )
               Defendants.                      )
                                                )


       COMES NOW, Plaintiff Antonio S. Camacho to request that, in accordance with this Court’s

September 30, 2008, Order Granting Motion For Writ of Execution and, In the Alternative, For an

Order in Aid of Judgment, that this Court issue the Writ of Execution filed herewith. In support of

this request, Plaintiff has attached the Declaration of Michael W. Dotts and Exhibits “A” and “B”

attached thereto which demonstrate that Plaintiff’s attorney Michael W. Dotts has twice contacted

Defendant’s attorney the Office of the Attorney General in an attempt to open a dialogue to reach a

mutually-agreeable method to pay the Judgment issued in this case. As set forth in the Declaration

of Michael W. Dotts, Defendants’ attorney has not responded.
                    Case 1:05-cv-00043 Document 84 Filed 10/24/08 Page 2 of 2



                                                                                    Respectfully submitted on
                                                                                    this 24th day of October, 2008.



                                                                                    _/s/___________________________
                                                                                    MICHAEL W. DOTTS
                                                                                    O’Connor Berman Dotts & Banes
                                                                                    Attorneys for Plaintiff




K:\1000\1600-01 Camacho\PL\draft\1600-02-081023-Request for Writ of Execution.doc




                                                                     2
